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Presented to the Court by the foreman of the
Grand Jury in open Court, in the presence of
the Grand Jury and FILED in the U.S.
DISTRICT COURT at Seattle, Washington.

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bramanian, Clerk

Deputy

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

UNITED STATES OF AMERICA,
Plaintiff,
V.
ALONSO RAMIREZ-CRUZ and
IVAN SUBIA

Defendants.

 

 

The Grand Jury charges that:

COUNT 1

CASE NO. CRSi _ is Ore

INDICTMENT

(Possession of Controlled Substances with Intent to Distribute)

On or about August 10, 2021, at Seatac, in King County, within the Western
District of Washington, and elsewhere, the defendants, ALONSO RAMIREZ-CRUZ and

IVAN SUBIA, did knowingly and intentionally possess with the intent to distribute, and

did aid and abet the possession of, with intent to distribute, methamphetamine, heroin,

fentanyl, and cocaine, substances controlled under Schedules I and II of Title 21, United

States Code, Section 812.

The Grand Jury further alleges that this offense involved 500 grams or more of a

mixture and substance containing a detectable amount of methamphetamine, its salts,

isomers, and salts of its isomers.

INDICTMENT
United States v. Ramirez-Cruz et. al. - |

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
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The Grand Jury further alleges that this offense involved one kilogram or more of
a mixture and substance containing a detectable amount of heroin.

The Grand Jury further alleges that this offense involved 400 grams or more of a
mixture and substance containing a detectable amount of N-phenyl-N- [1- (2-
phenylethy1) -4-piperidiny!] propenamide.

The Grand Jury further alleges that this offense involved 500 grams or more of a
mixture and substance containing a detectable amount of cocaine, its salts, optical and
geometric isomers, and salts of its isomers.

All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A),
841(b)(1)(B), and Title 18, United States Code, Section 2.

ASSET FORFEITURE ALLEGATION

All of the allegations contained in this Indictment are hereby re-alleged and
incorporated by reference for the purpose of alleging forfeiture. Upon conviction of the
offense alleged in Count 1, the defendants ALONSO RAMIREZ-CRUZ and IVAN
SUBIA shall each forfeit to the United States, pursuant to Title 21, United States Code,
Section 853, any property that constitutes or is traceable to proceeds of the offense, as
well as any property that facilitated the offense.

Substitute Assets. If any of the above-described forfeitable property, as a result of

any act or omission of the defendant,

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
C. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or,
€. has been commingled with other property which cannot be divided
without difficulty;
Hf
INDICTMENT UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970

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it is the intent of the United States, pursuant to Title 21, United States Code, Section
853(p), to seek the forfeiture of any other property of the defendants up to the value of
the above-described forfeitable property.

A TRUE BILL:
DATED: 06 Cectober Zéz2/

Signature of Foreperson redacted
pursuant to the policy of the Judicial
Conference of the United States

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FOREPERSON

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TESSA M. GORMAN
‘Acting United States Attorney

or THOMAS WOODS

Assistant United States Attorney

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WwW

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INDICTMENT UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970

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